Case 1:05-cv-Olll7-.]DT-STA Document 5 Filed 07/21/05 Page 1 of 5 Page|D 9

 

lN THE uNlTED sTATEs Dlsrmcr couRT n ‘3' .
FOR THE WESTERN DlSTR|CT OF TENNESSEE 051/oz "`\
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DAN|EI_LE WORRE|_L, ) '~/Q. ,~j<’é ,l.yn 10
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l C{<@V%/
Plolnllff, )
l
vs. , ) Cl\/IL ACT|ON NO.l-OS-l l l 7 TAn
l
l\/l|Cl-lAEL’S STEAKHOUSE )
ond MlKE DAY, )
l
Defeno|onls. )

 

.M£GSE~D RULE 16(b) SCHEDULING ORDER

 

Pursuonl lo lhe scheduling conference self by erllen nolice, lne following
doles nove been eslol:)|isned os lne flnol doles for:
l|\l|TlAl_ DlSCLOSURES pursuonl lo Fecl.R.Civ.P. 26(0}(1): Augusl ]3, 2005
JOINING PART|ES:
For P|oinllff: Augusl 26, 2005
For Defeno|onts: Seplember 23, 2005
AMEND|NG PLEAD|NGS:
For P|olnllff: Augusl 26, 2005
For Defen<;lonls: Seplember 23, 2005
|NlTlAL MOTIONS TO DlSM|SS: Seplember 9, 2005
COMPLET|NG ALL DlSCOVERY:
o) WR|TTEN DlSCO\/ERY: Jcnuclry 27, 2006

b) DEPOS|T|ONS: Februury21, 2006

This document entered on ’rhe docket §heet in c

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with anne 58 and.'or_?s (a) FncP on _M__ n
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ci Ex'PERr orsciosuREs [Ruie 261

ij Disc|osure Of P|ointiffs’ Ru|e 26 Expert |nformofion: October 28,
2005

2) Disc|osure Of Defendonts' Rule 26 Expert lnformotion:
November 30, 2005

3) Expert Witness Depositions: February 21, 2006
4) Supp|ementotion under Rule 26(e): December 12, 2005
F|L|NG D|SPOS|T|\/E MOT|ONS: Mcirch 21, 2006
FiNAL usfs or WirNEssEs AND ExHiBirs (Rule 26(0)(3));
o) For P|ointiff: Forty-five (45) days prior to trial
b) For Defendonts: Thirty (30) days prior to trial

cj Porties sholl hove ten (iOi days after service of opposition‘s fino|
Witness ond/or exhibit list to file objections under Rule 26(o)[3)

The trio| of this motter is expected to lost two (2) doys ond is set for NON-JURY
TR|AL on June 21, 2006 beginning cit 9:30 o.m. A joint pre-trial order is due on June
9, 2006. in the event the porties ore unobie to ogree on o joint pre-triol order, the
porties must notify the court ot |eosf ten doys before the trio|.

OTHER RELE\/ANT MATTERS:

|nterrogotories, Reouests for Production ond Reouests for Admissions
must be submitted to opposing porty in sufficient time for the opposing porty
to respond by the deodline for completion of discovery For exomple, if the
FRCP o||oW 30 doys for o porty to respond, then the discovery must be
submitted ot |eost 30 doys prior to the deodline for completion of discovery

t\/lotions to compel discovery ore to be filed ond served by the
discovery deod|ine or within thirty [30) doys of the defoult or the service of the
response, onsvver, or objection if the defoult occurs Within thirty i30) doys of
the discovery deodline, unless the time for filing of such motion is extended for
good couse shown, or the objection to the defoult, response, onswer, or
objection sholl be Woived.

The porties ore reminded fhot, pursuont to Loco| Rule 7(oj(i)(A) ond
(o)(i)(Bj, ol| motions, except motions pursuont to Fed.R.Civ.P. 12, 56, 59, ond

Case 1:05-cv-Olll7-.]DT-STA Document 5 Filed 07/21/05 Page 3 of 5 Page|D 11

60, shall be accompanied by a proposed Order and o Certificofe ot
Consulfation.

The opposing party may file o response to any motion filed in this
motter. Neifher party may file an additional rep|y, however1 without leave of
the court. |f o party believes that o reply is necessary, it must file a motion for
leave to file a reply accompanied by o memorandum setting forth the
reasons for which o reply is reauired.

The parties may consent to o trial before the i\/logistrate Judge. The
magistrate Judge con normally provide the parties with a definite trial date
that will not be continued unless o continuance is agreed to by all parties, or
on emergency arises which precludes the matter from proceeding to frio|.

The parties are encouraged to engage in court-annexed‘ attorney
mediation or private mediation on or before the close of discoverv.

This Scheduling Order has been entered offer consultation with trial

counsel pursuant to notice. Absent good cause shown, the scheduling dates
set by this Order will not be modified or extended

iT |S SO ORDERED. J`
/"”_':
L”S MMM 641/nj

HONORABLE S. THoMAs ANDERsoN
UNlrED StArEs MAGisTRA'rE JuDGE

DATE: gmle ,`20. 201§/
/ / '

APPRovED BY:

By:

 

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1901) 854-0777

ArroRNEYs roe DEFENDANTS
MicHAEL's SrEAi<HousE AND Mii<E DAY

By:

 

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DANIELLE WoRRELL

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01117 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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.1 im Paitsel

NULL THOMAS SAMSON & PAITSEL
214 Main St.

Fulton7 KY 42041

Honorable .1 ames Todd
US DISTRICT COURT

